4:08-cr-03142-JMG-CRZ   Doc # 72   Filed: 06/03/09   Page 1 of 1 - Page ID # 100



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:08CR3142
                                    )
          v.                        )
                                    )
WILLIE LEE STURGIS,                 )                    ORDER
                                    )
                Defendant.          )
                                    )


     In response to the court’s order of May 14, 2009 (filing no.
71) defendant Sturgis has submitted a financial affidavit for the
appointment of counsel.


     IT THEREFORE HEREBY IS ORDERED,

     1. The Federal Public Defender for the District of Nebraska
shall provide the court with a draft appointment order (CJA Form
20) for an attorney to represent the defendant, bearing the name
and other identifying information of the CJA Panel attorney
identified in accordance with the Criminal Justice Act Plan for
this district.

     2. The new attorney shall enter an appearance promptly upon
appointment.

     DATED this 3rd day of June, 2009.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
